                                                 IN THE DISTRICT COURT OF GUAM
        UNITED STATES OF AMERICA,                                                                CRIMINAL CASE NO. 20-00021
                                         Plaintiff,
                 vs.
                                                                                                 TRIAL SCHEDULING ORDER
        RICKY JAMES JR. SALAS SANTOS,

                             Defendant.
               IT IS HEREBY ORDERED THAT:
•   Exchange of Discovery shall be governed by Criminal Local Rule 16.
    < Government Discovery due                                                                                      September 17, 2020
    < Defendant’s Discovery due                                                                                     October 1, 2020

•   All Pretrial Motions, including but not limited to discovery, in limine,
    suppression, and dismissal motions, shall be filed no later than . . . . . . .                                                October 15, 2020
    <    Opposition to all Motions shall be filed the earlier of either one
         week after the filing of the motion(s) or no later than . . . . . . . . . . . .                                          October 22, 2020
    <    Replies to Oppositions shall be filed the earlier of either one
         week after the filing of the opposition(s) or no later than . . . . . . . . .                                            October 29, 2020
         No late motions shall be filed without court approval. Failure to timely file an opposition to a
         motion may be deemed by the court as consent to the granting of such motion.
•   Trial Brief. The Government shall file a trial brief in conformance
    with General Order No. 16-0002. The Government’s trial brief shall be
    filed no later than . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                     October 23, 2020
    <    Defendant’s Response/Opposition & Trial Brief shall be filed no
         later than . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   October 30, 2020
•   Trial Materials must be filed or lodged with the court no later than . .                                                     November 2, 2020
    <    An original and one copy of the witness list. Witness lists must include legal names, aliases,
         nicknames, village/city of residence, and place of employment. See also General Order No. 16-0002.
    <    Proposed Voir Dire Questions, Proposed Jury Instructions with source noted, and Proposed
         Verdict Forms.
    <    An original and three copies of the exhibit list. Government’s exhibits shall be numbered and
         Defendant’s exhibits shall be lettered. See also General Order No. 16-0002.
    <    Three complete sets of marked and tabbed exhibits in three-ring binders, with each binder
         containing a filed copy of the exhibit list. The exhibits shall include those items which may be
         introduced for identification into evidence but not necessarily proffered for admission, i.e.,
         police/investigative reports or witness statements. The parties shall meet and confer sufficiently in
         advance of trial and formulate a set of joint exhibits. Those exhibits upon which agreement cannot
         be reached shall be submitted separately by each respective party. An electronic copy of the
         exhibits shall also be submitted to the court.

•   Pretrial Conference and Hearing on all Motions shall be held on . . . .                                         November 6, 2020, at 9:00 a.m.
•   Jury Selection and Trial shall be held on . . . . . . . . . . . . . . . . . . . . . . .                       November 17, 2020, at 10:00 a.m.


                                                                                                                    /s/ Michael J. Bordallo
                                                                                                                        U.S. Magistrate Judge
                                                                                                                    Dated: Sep 10, 2020

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